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                                     DISTRICT JUDGE'S CIVIL MINUTES
                            IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF ARIZONA – PHOENIX
 U.S. District Judge: Douglas L. Rayes                            Date: September 25, 2023
 Case Number: CV-23-01865-PHX-DLR
 Castro v. Fontes, et al.

 APPEARANCES: Plaintiff(s) Counsel                               Defendant(s) Counsel
              John Castro (Pro Se)                               Kyle Cummings
                                                                 Kara Karlson
                                                                 Tim LaSota

 TELEPHONIC CONFERENCE:

4:28 a.m. Convene. Parties present telephonically. Discussion held regarding the pending Motion for
Preliminary Injunction (Doc. 11), and the Preliminary Injunction Hearing set for October 23, 2023. The
parties inform the Court that they do not intend to pursue limited discovery in preparation for the
Preliminary Injunction Hearing. The parties also agree that the Preliminary Injunction Hearing will not
be an evidentiary hearing, and that only oral argument on the briefings will be heard. Accordingly,
Plaintiff’s Motion to Compel the In-Person Appearance of Defendant Trump at the Preliminary
Injunction Hearing (Doc. 14) is WITHDRAWN.

The Court sets the following briefing schedule for the preliminary injunction motion, and any
forthcoming motion(s) to dismiss the complaint:

   • Defendants' motion(s) to dismiss and their responses to the preliminary injunction motion are due
     by October 13, 2023
   • Plaintiff's reply to his preliminary injunction motion and his responses to the motion(s) to dismiss
     are due by October 20, 2023.
   • Defendants' replies to their motion(s) to dismiss are due by October 25, 2023.
   • The Preliminary Injunction Hearing is RESET for October 31, 2023, at 9:00 a.m.
   • The parties are to notify the Court by October 23, 2023 if they agree to consolidating the
     Preliminary Injunction Hearing with the final trial on the merits.

4:52 p.m. Court is adjourned.



 Deputy Clerk: Robert Vasquez                                                      24 minutes
 Court Reporter: Jennifer Pancratz                                                 Start: 4:28 PM
                                                                                   Stop: 4:52 PM
